Case 2:17-cv-00416-JRG Document 93-1 Filed 06/14/18 Page 1 of 3 PageID #: 1047




                               EXHIBIT 1
Case 2:17-cv-00416-JRG Document 93-1 Filed 06/14/18 Page 2 of 3 PageID #: 1048
                                                                                 1




       1                     IN THE UNITED STATES DISTRICT COURT

       2                     FOR THE EASTERN DISTRICT OF TEXAS

       3                              MARSHALL DIVISION

       4   INLAND DIAMOND PRODUCTS           ) (

       5   co.                               ) (   CIVIL DOCKET NO.

       6                                     ) (   2:17-CV-416-JRG

       7   vs.                               ) (   MARSHALL, TEXAS

       8                                     ) (

       9   HOYA OPTICAL LABS OF              ) (   APRIL 30, 2018

     10    AMERICA,   INC.                   ) (   9:05 A.M.

     11                                MOTION HEARING

     12          BEFORE THE HONORABLE CHIEF JUDGE RODNEY GILSTRAP

     13                         UNITED STATES DISTRICT JUDGE

     14

     15    APPEARANCES:

     16    FOR THE PLAINTIFF:      (See Attorney Attendance Sheet docketed
                                    in minutes of this hearing.)
     17

     18    FOR THE DEFENDANT:      (See Attorney Attendance Sheet docketed
                                    in minutes of this hearing.)
     19

     20    COURT REPORTER:        Shelly Holmes, CSR, TCRR
                                  Official Reporter
     21                           United States District Court
                                  Eastern District of Texas
     22                           Marshall Division
                                  100 E. Houston Street
     23                           Marshall, Texas 75670
                                  (903) 923-7464
     24

     25    (Proceedings recorded by mechanical stenography,         transcript
           produced on a CAT system.)
Case 2:17-cv-00416-JRG Document 93-1 Filed 06/14/18 Page 3 of 3 PageID #: 1049
                                                                                 71



       1   Mr. Halan, and you all need to discuss perhaps a joint

       2   motion to modify the docket control order that you'll submit

       3   to me.     You all are going to work together, whether you like

       4   it or not, and you're going to have to learn to work

       5   together because so far I've seen very little evidence that

       6   that's happened here.

       7              MR.   ISBESTER:   Thank you,   Your Honor.

       8              THE COURT:    All right.   Do you have other

       9   questions?

      10              MR.   ISBESTER:   I have one other question.

      11              You mentioned depositions in Italy.          We have

      12   informed Plaintiff that we believe a very important witness

      13   is the founder of MEl.       His name is Stefano Sonzogni,        I

      14   believe.     And we have arranged through MEl that Mr. Sonzogni

      15   will agree to provide deposition testimony by video under

      16   U.S.    law in Italy.   And he's provided several dates for

      17   that.     And I just wanted to confirm that you did not have an

     18    objection to our pursuing Mr. Sonzogni's deposition in that

     19    manner.

     20               Obviously, Mr. Sonzogni is         is a vendor to the

     21    company.     We have -- we can pick up the phone and speak with

     22    him, but Plaintiff can't,      at least not the same way.         So we

     23    wanted to make sure that the Plaintiff had the opportunity

     24    to take his deposition before a declaration or testimony

     25    shows up from him in the case.        But you had seemed somewhat
